                                          Case 4:11-cv-01502-PJH Document 229 Filed 10/02/15 Page 1 of 1




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                                   4                                 UNITED STATES D
                                                                                   DISTRICT C
                                                                                            COURT

                                   5                                NORTHER
                                                                    N     RN DISTRIC
                                                                                   CT OF CAL
                                                                                           LIFORNIA

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                                   7    SEAN O'TOO
                                                 OLE, et al.,,
                                                                                         Case No. 11-cv-1502
                                                                                                           2-PJH
                                   8                  Plaintiffs,

                                   9            v.                                       ORDER O
                                                                                               OF DISMISS
                                                                                                        SAL
                                  10    CITY
                                        C    OF AN
                                                 NTIOCH, et al.,
                                  11                  Defendants.

                                  12
Northern District of California
 United States District Court




                                  13

                                  14          The pa
                                                   arties hereto
                                                               o, by their counsel,
                                                                           c        ha
                                                                                     aving advise
                                                                                                ed the courrt that they have

                                  15   agreed to a se
                                                    ettlement of
                                                              o this case,, IT IS HER
                                                                                    REBY ORDE
                                                                                            ERED that this case iss dismissed
                                                                                                                            d

                                  16   witthout preju
                                                    udice; provid
                                                                ded, howev
                                                                         ver that if any party he
                                                                                                ereto shall ccertify to thiis court,

                                  17   witthin sixty da
                                                      ays, with prroof of service thereof on the opp
                                                                                                   posing partyy, that the a
                                                                                                                           agreed

                                  18   consideration for said se
                                                               ettlement ha
                                                                          as not been
                                                                                    n delivered over, the fo
                                                                                                           oregoing orrder shall

                                  19   sta
                                         and vacated
                                                   d and this case
                                                              c    shall fo
                                                                          orthwith be restored to
                                                                                                o the calend
                                                                                                           dar to be se
                                                                                                                      et for trial.

                                  20          If no ce
                                                     ertification is
                                                                  i filed, afte
                                                                              er passage of sixty dayys, the dism
                                                                                                                missal shall be with

                                  21   pre
                                         ejudice. Th
                                                   he parties may,
                                                              m    of courrse, substit ute a dismiissal with p
                                                                                                             prejudice att any time

                                  22   during this six
                                                     xty day period.

                                  23          The Oc
                                                   ctober 8, 20
                                                              015 pretrial conferenc e and the N
                                                                                               November 2
                                                                                                        2, 2015 tria
                                                                                                                   al date are

                                  24   VA
                                        ACATED.

                                  25          IT IS SO
                                                    S ORDER
                                                          RED.

                                  26   Da
                                        ated: Octob
                                                  ber 2, 2015

                                  27                                                 __
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                                                                                     PH
                                                                                      HYLLIS J. HHAMILTON
                                  28                                                 Un
                                                                                      nited Statess District Ju
                                                                                                              udge
